               Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page   1 of 3301-18-2022
                                                                  01:37:19p.m.
                                                                                  PageID #: 6                                                3/18
3047370352



                                                               Case Docket Entries                                         cc-os-202i-c-74
      Court:         Clrcuit            County:      05 - Brooke           Created Date:   11/3/2021             Security Level: Public
         Judge:      Ronald E. Wilson   Case Type: CivU                    Case Sub-Type: Real Property          Status:        Open
      Related Cases:
      Style:         Rlchard D Dillinger v. Petruleum Fuel and Terminal Company


             Entered Date               Eyent                      Ref. Code               Description
             11/3/20213:29:35PM         E-FiIed                                            Complaint
                 1-1 11/3/2021          Civil Case Infonnation Statement
                 l-2 11/3/2021          Supporting Document - CC1S
                 1-3 11/3/2021          Complaint - Complaint in Civil Action
                 1-4 11/3/2021          Transmittal
                 1-5 11/3/2021          Summons


     3       11/3/20213:29:35PM         PartyAdded                 P-001                   Richard D Dillinger


     511/3/2021 3:29:35 PM              Party Added                D-001                   Petroleum Fuel and Terminal Company


     7       11/3/20213:29:35PM         PartyAdded                 D-003                   Central Point Terminal J&W, LLC


     9       11/3/20213:29:35PM         PartyAdded                 D-005                   John Doe(s)


     11      11/3/20213:29:35PM         AttomeyListed              P-002                   A-7120-JamesA.Villanova


     13      11/3/20213:29:35PM         Service Requested          D-002                   Plaintiff- Secretary ofState


     15      11/3/202l3:29:35PM         Service Requested          D-004                   Ptamtiff- Secrctary ofState


     17      12/20/2021 11;31:17AM Other                                                   SUMMONS & COMPLAINT SENTTO SECRETARY OF
                                                                                           STATE FOR SBRVICE ON PETROLEUM FUEL &
                                                                                           TERMINAL COMPANY, APEX OIL CO., CENTRAL
                                                                                           POINT TERMINAL J & W, LLC & CENTRAL POINT
                                                                                           TERMINAL COMPANY, LLC




     19      I /3/2022 11:25:21 AM      E-Docketed                             Service Return - SUMMONS & COMPLAINT
                                                                               RETURNED FROM THE SECRETARY OF STATE'S
                                                                               OFFICE/ACCEFTED SERVICE ON BEHALF OF
                                                                               CENTERPOINTTERMINALCOMPANY, LLC 12/22/21
                  19-1 1/3/2022         Service Return - SUMMONS & COMPLAINT RETURNED FROM THE SECRETARY OF STATE'S
                                        OFFICE/ACCEPTED SERVICE ON BEHALF OF CENTER POWT TERMINAL COMPANY, LLC ON
                                        12/22/21
                  19-2 1/3/2022         Transmittal




     User ID:       Tonda.Taylor                               Page 1 of2                                        Date/Time:   1/18/22 1:01 PM
             Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page
                                                                01:38:012p.m.
                                                                           of 3301-18-2022
                                                                                  PageID #: 7                      4/18
3047370352



                                                    Case Docket Entries                          CC-OS-2021-C-74
             Entered Date           Event              Ref. Code        Description




     21      1/3/2022 11:41:12 AM   E-Docketed                            Service Retum - SUMMONS & CONtPLAINT
                                                                          RETURNED FROM THE SECRETARY OF STATE'S
                                                                          OFFICE/ACCEPTED SERVICE ON BEHALF OF
                                                                          PETROLEUM FUEL & TERMINAL COMPANY ON
                                                                           12/22/21
                21-1 1/3/2022       Service Retum - SUMMONS & COMPLAINT RETURNBD FROM THE SECRETARY OF STATE'S
                                    OFFICE/ACCEPTED SERVICE ON BEHALF OF PETROLEUM FUEL & TERMINAL COMPANY ON
                                    12/22/21
                21-2 1/3/2022       Transmittal




     User ID:     Tonda.TayIor                      Page2of2                            Date/Time:   1/18/22 1:01 PM
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 3 of 33 PageID #: 8

fi
     CT Corporation                                                                                      Service of Process
                                                                                                         Transmittal
                                                                                                         12/27/2021
                                                                                                         CT Log Number 540790912
     TO:         Mary Hockle
                 Apex OU Company, Inc.
                 8235 Forsyth Blvd Ste 400
                 Ctayton,MO 63105-1644

     RE:         Process Served in West Virginia

     FOR:        Center Point Terminal Company, LLC (Domestic State: DE)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


     TITLE OF ACTION:                                  Re: RICHARD D DILLINGER and MICHELLE L. DILLINGER, his wife // To: Center Point
                                                       Terminal Company, LLC
     DOCUMENT(S) SERVED:

     COURT/AGENCY:                                     None Specified
                                                       Case#CC052021C74
     NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
     ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Charleston, WV
                                                                                                                    "Not
     DATE AND HOUR OF SERVICE:                         By Certified Mail on 12/27/2021 postmarked:                         Post Marked"
     JURISDICTION SERVED :                             West Virginia
     APPEARANCE OR ANSWER DUE:                         None Specified
     ArrORNEY(S) / SENDER(S):                          None Specified
     ACTION ITEMS:                                     CT will retain the current tog

                                                       Image SOP

                                                       Email Notification, Mary Hockle mhockle@apexoil.com

                                                       Email Notification, Jordan Federko jfederko@apexoil.com

                                                       Emai'l Notification, Christina LeGrand clegrand@apexoil.com

                                                       Email Notiflcation, Ashley Schuerman aschuerman@apexoil.com

     REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                       5098 WashingtonSt. W. Ste. 407
                                                       Charleston,WV25313
                                                       866-331-2303
                                                       CentralTeaml @wotterskluwer.com
     The informatlon contafned in this Transmtttal is provided by CT for quick reference only. It does not constltute a legal opinion, and should not otherwise be
     relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
     of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
     advisors as necessary. CT disclalms all liability for the information contalned In thfs form, including for any omissions or Inaccuracies that may be contained
     thereln.




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Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 4 of 33 PageID #: 9
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     SUMMONS                                                                   •_:y   \              gtoB&g©siBi%@jaiffi©N)<
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                                       IN THE CIRCUIT OF BROOKE WEST VIRGINIA
                       .   _   ,Ri.chard D Dillinger.v. PetroleumFuel.andTerminal.Company-...-..-..                                 .. - .

Service Type:    PIaintiff - Secretary of State

NOTICE TO:       Centi-al Pomt Terminal Company, LLC, 5098 Washington Street W, Ste. 407, Charleston, WV 25313

RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIOINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR
DENYINO EACH ALLEOATION IN THE COMPLAINT WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER. MUST BE MAILED OR
HAND DELWERED BY YOU OR YOUR ArTORNEY TO THE OPPOSING PARTY'S ATTORNEY:
James Villanova, 16 Chatham Sq, Pittsburgh, PA 15219

THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO YOU OR A JUDGMENT
BY DEFAULT MAY BE ENTERED AOAINST YOU FOR THE MONEY OR OTHER THINOS DEMANDED IN THE COMPLAINT.



SERVICE:
 11/3/20213:29:31PM                               /s/ Glenda Brooks          .^St^^x'....
                Date                                           Clerk


RETURN ON SERVICE:


 D Rehim receipt of certified mail received in this office on

 Q I certify that I personally delivered a copy ofthe Summons aad



 D I certify that I personally delivered a copy of the Summons and Complaint to the individual's dwelling place or usual place ofabode to
                                                      , a member ofthe individual's family who is above the age ofsixteen (16) years and by

 advising such person ofthe piupose ofthe summons and complaint.

QNot Found in Bailiwick



                Date                                    Server's Signature




                                                                                                                     . i
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 6 of 33 PageID #: 11




                         IN THE CIKCUIT COURT OF BROOKE COUNTY,
                                      WESTVIRGINIA

    RLCHARD-D..-DILLIN.GER,.and^     -)-                  -Ci-vil-Division-
    MICHELLE L. DILLINGER, his wife,   )
                                              )           CaseNo.:
                          Plaintiffs,         )   .
                                              )
          V.                                  )                .
                                              )       .
    PETROLEUM FUEL & TERMINAL )
    COMPANY, APEX OIL COMPANY, INC.,)
    CENTERPOINTTERMINALJ&W,         )
    LLC, CENTER POINT TERMINAL )
    COMPANY, LLC, arid JOHN DOE(S), ).

         . Defendants.                        )                               .

                                COMPLAINT IN CrVILACTION
          AND NOW, come the Plaintiffs, Richard D. Dillinger, and Michelle L. Dillinger,

    his wife, by and throygh their undersigned attorneys, James A. Villanova, Esquire,

    Michael E. Metro, Esquire. andVillanova Law Offices, P.C., and avers.the follovk'ing:

          l.     Plaintiff, Richard D. .Dillinger, is an adult indnddual currently residing at

    i266o Goshen Road, Salem, Ohio 44460.

          2.     Plaintiff, Michelle L. Dillinger, is an adult individual currently residing at

    i266o Goshen Road, Salem, Ohio 44460.

          3.     Defendant, Petroleum Fuel and.Terminal Company, is a corporation which

    factually and systematically-conduct's'and'fransacts business \vithm Brooke County,

   West Virginia thereby purposely availing themselves to the privileges and benefits of

   conducting business withiri fhe State ofWest Virginia. Defendant, Petroleum Fuel and

   Terminal Company maintains a registered'address c/o CT Corporation System, 5098

   Washington Street W STE 407, Charleston, West Virginia 25313-1561. At all times
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    relevant and material hereto, the events described herein occurred at.Defendant,

    Petroleum Fuel and Terminal Company's, c.rude oil storage facility located at 3048 Birch

    Drive, Weirton, Brooke Courity, WestVirginia 26062.

           4.    Defendant, Apex Oil Company, Inc., is a corporation which factually and

    systematically conducts, and transacts business within Brooke County, West Virginia

    thereby purposely availing themselves ofthe privileges and benefits ofconducting

    business within the State ofWest Virginia. Defendant, Apex Oil Company, Inc.,

    maintains a registered address ofc/o CT Corporation System, 5098 Washington Street

    W STE 407, Charleston, West Virginia 25313-1561. At all times relevant and material

    hereto, the events described herein occurred at Defendants crude oil storage facility at

    3048 Birch Drive, Weirton, Brooke County, West Virginia 26062.

          5.     Defendant, Central Point Terminal J&W, LLC, is a corporation which

    factually and systematically conducfs, and transacts business within Brooke County,

    West Virginia thereby purposely availing themselves ofthe privileges and benefits of

    conducting business within the State ofWest Virginia. Defendant, Central Point

    Terminal J&W, LLC, maintains a registered address ofc/o CT Corporation System,

   5098 Washington Street W STE 407, Charleston, Wesf Virginia 25313-1561. At all times
    relevant and material hereto, the events described herein occurred at Defendants crude

   oil storage facility at 3048 Birch Drive, Weirton, Brooke County, West Virginia 26062.

          6.     Defendant, Central Point Terminal Company, LLC, is a corporation which

   factually and systematically conducts, and transacts business within Brooke County,

   West Virginia thereby purposely availing themselves ofthe privileges and benefits of

   conducting business within the State ofWest Virginia. Defendant, Central Point

   Terminal Company, LLC, maintains a registered address ofc/o CT Corporation System,
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 8 of 33 PageID #: 13




    5098 Washington Street WSTE 407, Charleston, West Virginia 25313-1561. At all times
    relevant and material hereto, the events described herein occurred at Defendants crude

    oil storage facility at 3048 Birch Drive, Weirton, Brooke County, WestVirgihia 26062.

          7.      Defendant(s) John Doe(s) are any and all unknown persons, associations,

    corporationis or any other entity that committed any and all acts, either through itselfor

   through its agents, or employees, or may be the correcfly named Defendants ofeither

    Petroleum Fuel & Terminal Company, Central Point Terminal J&W, LLC, Central.Point

   Terminal Company, LLC and/orApex Oil Company, Inc., the acts and omissions of

   Defendants, Petroleum Fuel & Terminal Company, Central Point Terminal J&W, LLC,

   Cenfral Point Terminal Company, LLC and/or Apex Oil Company, Inc., throughout this

   Complaint are also identified as the acts or omissions ofthe John Doe(s).

          8.     At all times relevant herein, Plaintiff, Richard D. DilUnger, was a non-

   trespasser, business invitee, who was delivering a load ofcrude oil to the aforesaid crude

   oil storage facility located at 3048 Birch Drive, Weirton, Brooke County, WestVirginia

   2.6062., and was without contributory negligence, comparative negligence or other

   wrongful conduct and he was using ordinary and reasonable care.

                               Statement ofFacts

          9.     At all times relevant to this action, the Defendants, Petroleum Fuel &

   Terminal Company, Central Point Terminal J&W, LLC, Central Pdint Terminal

   Company, LLC, Apex Oil Company, Inc. and/or John Doe(s), owned and/or controlled

   the crude oil storage facility located at 3048 Birch Drive, Weirton, BroOke County, West

   Virginia 26062 also known as Apex Terminal.

          10.    On or about December 6, 2019, at the premises located at 3048 Birch

   Drive, Weirton, Brooke County, West Virginia, 26062, Defendanfs, Petroleum Fuel &
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    Terminal Company, Central Point Terminal J&W, LLC, Central Point Terminal

    Company, LLC, Apex Oil Company, Inc. and/or John Doe(s) causedfhe PIaintiff,

    Richard D. Dillinger, to fall to the ground violently and with great force sgverely and

   permanently injuring himself.
          ii.    On and prior to December 6,2019, there existed adjacent to the loading

   dock at the aforesaid Apex Terminal located at 3048 Birch Drive, Weirton, Brooke

   County, West Virginia 26062, a.dangerous, unsafe and hazardous conditibn created by a

   pothole or hole made ofloose, dark gravel in the roadway adjacent to the loading doclc.
                                 COUNTI:       NEGLIGENCE
            Richard D. Dillinger u. Petroleum Fuel & TemnnalCompany

          12.    Paragraphs i through 11 are incorporated by reference.

          13.    Defendaht, Petroleum Fuel & Terminal Company, was negligent, careless,

   grossly negligent and recldess by among other things:
                 a.     In failing to properly inspect, repair and maintain the surface of the
                        aforesaid delivery roadway adjacent to the loading dock ofthe Apex
                        Terminal and to keep the same free from dangerous conditions,
                        including loose black gravel, which was subject to forming holes or
                        potholes in the aforesaid roadway;
                 b.     In creating and allo^ng a dangerous condition, to \vifr, a pothole or
                        hole in the delivery roadway adjacent to the loading dock:at the
                        aforesaid Apex Terminal, which Defendant knew, or should have
                        known, was a falling hazard for oil delivery drivers such as Plaintiff
                        walking thereon;

                 c.     In failing to correct the situation caused by a hole or pothole formed
                        in the loose black gravel ofthe delivery roadway adjacent to the
                        loading dock ofthe aforesaid Apex Terminal which would have.
                        prevented the Plaintifffrom falling to the surface ofthe aforesaid
                        delivery roadway;

                 d.     In failing t6 provide a safe pathway around the dangerous
                        condition, namely, a hole or pothole of loose black gravel located in
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                         the deltvery roadway adjacent to the loading dock of Defendant
                         Apex Terminal;
                 -e;—I-n-failiBg-to-post-signage-or-eordon-off-the-affected-area-alerting-
                       those individuals, such as Plaintlff, who delivered crude oil to the
                       aforesaidApex Terminal ofthe condition ofthe aforesaid delivery
                       roadwayand; .

                  f.     In failing to do all necessary acts to provide for the Plaintiffs safety.

           14.    Said negligence, car.elessness, gross negligence and/or recklessness of .

    Defendant was a direct and proximate cause of Plaintiffs fall and resulting injury and

    damages.

           15.   As a direct and proximate result of Defendant's negligence, carelessness,

    gross negligehce and/or recklessness, Plaintiff, Richard D. Dillinger, suffered serious

    permanent physical injuries, mental.anguish, lost wages, loss of earning capacity and
    loss ofcapacity to enjoy life and will continue to suffer said damages in the future.

           WHEREPORE, the above-described conduct of Defendant, Petroleum Fuel 8;:

    Terminal Company, has direcfly and proximately caused injury to Plaintiff, Richard D.

    Dillinger, and the Plaintiff demands judgment against the Defendant, Petroleum Fuel &

    Termihal Company, jointly and severally, for the followdng rellef and damages:

           a.    Compensatory damages for past, present and future medical and life care
                 expenses, lost wages, loss of earning capacity and all other special damages
                 and loSs ofserviGes in a fair andjust amount determined by ajury;

          b.     General damages for past, present and future pain and suffering, mental
                 anguish, permanent injury, incbnvenience, loss of society, service and
                 companionship, loss ofenjoyment oflife and emotional distress ih a fair and
                 justamount determined by ajury;
          c.     Pre-judgment and post-judgment interest:

          d.     Costs and attorney fees expended in this action; and

          e.     Any ofher further general or specific reliefwhich the Court orjury may deem
                 justor proper.
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    A JURY TR1AL IS DEMANDED



                                  COUNTII: NEGLIGENCE
                      Richard JP. Dillinaer v. Avex Oil Comrsanv, Inc.

          16.    Paragraphs l through 15 are incorporated by reference.

          17.   • Defendant, Apex Oil Company, Inc., was negligent, careless, grossly

    negligent and reckless by.among other things:

                 a.      Iri failing to properly inspect, repair and maintain the surface of the
                         aforesaid delivery roadway adjacent to the loading dock ofthe Apex
                         Terminal and to keep the same free from dangerous conditions,
                         including loose black gravel, which was subject to forming holes or
                         potholes in the aforesaid roadway;
                 b.      In creating and allowing, a dangerous condition, to wit, a pothole or
                         hole in the delivery roadway adjacent to the loading dock at the
                         aforesaid Apex Terminal, which Defendant knew, or should have
                         known, was a falling hazard for oil delivery drivers such as Plaintiff
                         walking thereon;

                 c.      In failing to correct the situation caused by a hole or pothole formed
                         in the loose black gravel ofthe deliyery roadway adjacent to the
                         loading dock ofthe aforesaid Apex Terminal which would have
                         prevented the Plaintifffrom falling to the surface ofthe aforesaid
                         delivery roadway;

                        In failing to provide a safe pathway around the dangerous
                        condition, namely, a hole or pothole ofloose black gravel located in
                        the delivery roadway adjacent to the loading dock of Defendant
                        Apex Terminal;

                        In failing to post signage or cordon offthe affected area alerting
                        those mdividuals such as Plaintififwho delivered crude oil to the
                        aforesaid Apex Terminal ofthe eondition ofthe aforesaid delivery
                        roadway and;

                 f.      In failing to do all necessary acts to provide for the Plaintiffs safety.
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 12 of 33 PageID #: 17




           i8.     Said negligence, carelessness, gross negligence and/or recklessness of

    Defendant was a direct and proximate cause of Plaintiffs fall and resulting injury and

    damages.

           19.     As a direct and proximate result of Defendant's negligence, carelessness,

    gross negligence and/or recklessness, Plaintiff, Richard D. Dillinger, suffered serious

    permanent physical injuries, mental anguish, lost wages, loss of earning capacity and
    loss of capacity to enjoy life and will continue to suffer said damages in the future.

           WHEREFORE, the abbve-described conduct of Defendant, Apex Oil Company,

    Inc., has directly and proximately caused injury to Plaintiff, Richard D. Dillinger, and the

    Plaintiffdemandsjudgment against the Defendant, Apex Oil Company, Inc., jointly and

    severally, for the following reliefand damages:

           a.      Compensatory damages for past, present and fuh-ire medical and life care
                   expenses, lost wages, loss ofearning capacity and all otherspecial damages
                   and loss of services in a fair and just amount determined by a jury;

           b.     General damages for past, present and future pain and suffering, mental
                  anguish, perman'ent injury, inconvenience, loss of society, service and
                  companionship, loss ofenjoyment oflife and emotional distress in a fair and
                  just amount determined by ajuiy;
           c.      Pre-judgment and post-judgment interest;

           d.      Costs and attorney fees expended in this action; and

           e.     Any other further general or speciflc reliefwhich the Court orjury may deem
                  just or proper.
    A JURY TRIAL IS DEMANDED

                                  COUNT III: NEGLIGENCE

                 Richard D. Dillinaer u. Center Point Terminal J&W. LLC

          20.     Paragraphs i through 19 are incorporated by reference.
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            21.    Defendant, Center Point Terminal J&W, LLC, was negligent, careless,

    grossly negligent and recldess by among other things:.
                   a.     In failing to properly inspect, repair and maintain the surface ofthe
                          aforesaid delivery roadway adjacent to the loading dock ofthe Apex
                          Terminal and to keep th.e same free from dangerous conditions,
                          including loose black gravel, which was subject to forming holes or
                          potholes in the aforesaid roadway;
                  b.      In creating and allowing a dangerous condition, to wit, a pothole or
                          hole in the delivery roEldway adjacent to the loading dock at the
                          aforesaid Apex Terminal, which Defendant knew, or should have
                          known, was a falling hazard for oil delivery drivers sueh as Plaintiff
                          walldng thereon;

                  c.     In failing to correct the situation caused by a hole or pothole formed
                         in the loose black gravel ofthe deliyery roadway adjacent to the
                         loading dock ofthe aforesaid Apex Terminal which would have
                         prevented the Plaintifffrom falling to the surface ofthe aforesaid
                         delivery roadway;

                  d.     In failing to provide a safe pathway around the dangerous
                         condition, namely, a hole or pothole of loose black gravel located in
                         the delivery roadway adjacent to the loading dock ofDefendant
                         Apex Terrrtina];
                  e.     In failing to post signage or cordon off the affected area alerting
                         those indhdduals such as PIaintiffwho delivered crude oil to the
                         aforesaid Apex Terminal ofthe condition ofthe aforesaid delivery
                         roadway and;

                  f.     In failing to do all necessary acts to provide for the Plaintiffs safety.

           22.    Said negligence, carelessness, gross negligence and/or recldessness of

    Defendant was a direct and proximate cause of Plaintiffs fall and resulting injuiy and

    damages.

           23.    As a direct and proximate result of Defendant's negligence, carelessness,

    gross negligence and/or recklessness, Plaintiff, Richard D. Dillinger, suffered serious

    permanent physical injuries, mehtal anguish, lost wages, loss of earning capacity and
    loss of capacity to enjoy life and will continue to suffer said damages in the future.
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 14 of 33 PageID #: 19




          ., .WHEREFORE, the above-described conduct of Defendant, Center Point Terminal
    J&W, LLC, has directly and proximately caused injury to Plaintiff, Richard.D. Dillinger,

    and the Plaintiffdemandsjudgment against the Defendant, Center Point Terminal J&W,

    LLC, jointly and severally, for the following reliefand damages:

           a.    Compensatory damages for past, present arid future medical and life care
                 expenses, lost wages, loss ofearning capacity and all other special damages
                 and loss of services in a fair and just amount determined by a jury;

          b.     General damages for past, present and future pain and suffering, mental
                 anguish, permanent injury, inconvenience, loss of society, service and
                 companionship, loss ofenjoyment oflifeand emotional distress in afair and
                 just amount determined by ajury;
          c.     Pre-judgment and post-judgment interest;

          d.     Costs and attorney fees expended in this action; and

          e.     Any other further general or specific reliefwhich the Court orjury may deem
                 just or proper.
    A JURY TRIAL IS DEMANDED

                                 COUNT IV: NEGLIGENCE

            Richard D. Dillinaer. v. Center Point Term.inal ComBany, LLC

          24.    Paragraphs l fhrough 23 are incorporated by reference.
          25.    Defendant, Center Point Terminal Company, LLC, was negligent, careless,

    grossly negligent and reckless by among other things:
                 a.     In failing to properly inspect, repair and maintain the surfaee ofthe
                        aforesaid delivery roadway adjacent to the loading dock of the Apex
                        Terminal and to keep the same free from dangerous conditions,
                        including loose black gravel, which was subject to forming holes or
                        potholes in the aforesaid roadway;
                 b.     In creating and allowing a dangerous condifion, to wit, a pothole or
                        hole in the delivery roadway adjacent to the loading dpck at the
                        aforesaid Apex Terminal, which Defendant knew, or should have
                        known, was a falling hazard for oil delivery drivers sueh as Plaintiff
                        walldng thereon;
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                  c.      In failing to correct the situation caused by a hole or pothole formed
                          in th.e loose black gravel ofthe delivery roadway adjacent to the
                         -loading-doek-of-t-heaferesaid-Apex-Terminal-whieh-would-have-—
                          prevenfedthe Plaintifffrom falling to the surface ofthe aforesaid
                          delivery roadway;

                  d.     In failing to provide a safe pathway around the dangerous
                         condition, namely, a hole or pothole ofloose black gravel located in
                         the delivery roadway adjacent to the loading dock ofDefendant
                         Apex Terminal;

                  e.     In failing to post signage or cordon off the affected area alerting
                         those individuals such as Plaintiffwho delivered crude oil to the
                         aforesaidApex Terminal ofthe condition Qfthe aforesaid delivery
                         roadway and;

                  f.     In failing to do all necessary acts to provide for the Plaintiffs safety.

           z6.    Said negligence, carelessness, gross negligence and/or recklessness of

   , Defendant was a direct and proximate cause of Plaintiffs fall and resulting injury and
    damages.

           27.    As a direct ahd proximate result of Defendant's negligence, carelessness,

    gross negligence and/or recklessness, Plaintiff, Richard D. Dillinger, suffered serious

    permanent physical injuries, mental anguish, lost wages, loss of earnmg capacity and
    loss of.capacity to enjoy life and will continue to suffer said damages in the future.

           WHEREFORE, the above-described conduct ofDefendant, Ceriter Point Terminal

    Company, LLC, has directly and proximately caused injury to Plaintiff, Richard D.

    Dillinger, and the Plaintiff demands judgment againsf the Defendant, Center Point

    Terminal Company, LLC, jointly and severally, for the following relief and damages:

           a.     Compensatoiy damages for past, present and future medical and life care
                  expehses, lost -wages, loss pf earning capacity arid all other special damages
                  and loss ofservices in a fair andjust amount determined by ajury;

           b.     General damages for past, present and future pain and suffering, mental
                  anguish, permanent injury, inconvenlence, loss 6f society, service and
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 16 of 33 PageID #: 21




                   companionship, loss ofenjoyment oflife and emotional distress in a fair and
                   just amount determined by ajury;
      _.. —e..- - Pre-judgment-and post-judgment interest; •

           d.       Costs and attorney fees expended in this action; and

           e.      Any other further general or specific reliefwhich the Court orjury may deem
                   just or proper.
    A JURY TMAL IS DEMANDED

                                   COUNTV: NEGLIGENCE

                             RichaTd D. Dillingerv. JohnDQefsl

          28.      Plaintiff incorporates Paragraphs i through 27 above as if set forth at

    lengthherein.

        . 29.      The Defendant, John Doe(s), was negligent, careless, grossly negligent and

    reckless by among other fhings:

          30.      Saiid negligehce, carelessness, gross negligence and/or recklessness ofthe

    Defendant were the direct.and proximate cause ofPlaintiffs fall and resulting injuries

    and damages.

                   a.     In failing to properly inspect, repair and maintain the surface ofthe
                          aforesdid delivery roadway adjacent to the loading dock ofthe Apex
                          Terminal and to lceep the same free from dangerous conditions,
                          including loose black gravel, which was subject to forming holes or
                          potholes in the aforesaid roadway;
                 b.       In creating and allowing a dangerous condition, to wit, a pothole or
                          hole in the delivery roadway adjacent to the loading dock at the
                          aforesaid Apex Terminal, which Defendant kneW, or should h.ave
                          Imown, was a falling hazard for oil delivery drivers such as Plaintiff
                          walkingthereon;

                 c.       In failing to correct the situation caused by a hole or pothole formed
                          in the loose black gravel ofthe delivery roadway adjacent to the.
                          loading dock ofthe aforesaid Apex Terminal which would have
                          prevented the PIaintifffrom falling to the surface ofthe aforesaid
                          delivgry roadway;
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 17 of 33 PageID #: 22




                    d.     In failing to provide a safe pathway around the dangerous
                           condition, namely, a hole or pothole ofloose black gravel located in
                           the delivery roadway adjacent to the loading ddck of Defendant
                           Apex Tenninal;

                    e.     In faillng to post signage or cordon off the affected area alerting
                           those individuals such as Plaintiffwho delivered crude oil to the
                           aforesatd Apex Terminal ofthe condition ofthe aforesaid delivery
                           roadway and;

                    f.     In failing to do all necessary acts to provide for the Plaintiffs safety.

              31.   As a direct and proximate result of the Defendant's negligence,

    carelessness, gross negligence and/or recklessness, the Plaintiff, Richard D. Dillinger,

    suffered serious permanent physical injuries, men.tal anguish, lost wages, loss ofearning

    capacity and loss of capacity to enjoy life, and will continue to suffer said damages in the

    future.

              WHEREFOKE, the above-described conduct ofthe Defendant, John Doe(s), has

    directly and proximately caused injury to the Plaintiff, Richard D. Dillinger, and the

    Plalntiffdemandsjudgment against the Defendant, John Doe(s), jointly and severally

    for the following reliefand damages:

                    a.    Compensatory damages for past, present and future medical and
                          life care expenses, lost wages, loss of earning capacity and all other
                          special damages and loss ofservices in a fair andjust amount
                          deterfflined by ajury;

                    b.    General damages for past, present and fiiture pain and suffering,
                          mental anguish, permanent injury, inconvenience, loss ofsociety,
                          service and companionship, loss ofenjoyment oflife and emotional
                          distress in a fair andjust amount determined by ajury;

                    c.    Pre-judgment and post-judgment interest;

                    d.    Costs and attorney fees expended in this actlon; and

                    e.    Ahy other fui-ther general or specific relief which the Court or jury
                          may deem just or proper.
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 18 of 33 PageID #: 23




    AJURYTRIAL IS DEMANDED.

                            CQUNTV: LOSS OF CONSORTIUM

      MichelleL. Dillinaer v. Petroleum Fuel & Terminal Companu, Centrcd
    Point Terminal J&W. LLC. CentratPoint Terminal Comvanv. LLC. Anex Oil
                        Comnattv. Jne. .and John DoeCs):

           32.    Plaihtiff incorporates Paragraphs i through 31 above as if set forth at

    length herein.

           33.    Plaintiff-wife, Michelle L. Dillihger, is living with, residing with and

    married to the Plaintiff, Richard D. Dillinger.

           34-    As the.sole, direct and proximate result of the injuries susfained by the

    Plaintiff, Richard D. Dillinger, as is set forth with more particularity here and above, the

    Plaintiff-wife, Michelle L Dillinger, has been deprived ofthe company and consortium of

    her husband and has been obligated to undertake numerous tasks on his behalf since he

    has been unable to act as.he had prior to sustaining the injuries above-referenced.

           WHERFORE, Plaintiff,. Michelle L. Dillinger, prays for judgment against the

    Defendants, Petroleum Fuel & Terminal Company, Central Point Terminal J&W, LLC,

    Central Point Terminal Company, LLC, Apex Oil Company, Inc. and John Doe(s), jointly

    and severally, in the amount in excess of the minimal jurisdictional limits plus interest

    and costs and asks further relief as a Gourt orjury may find.

    JURY TRIAL XS DEMANDED ON ALL ISSUES.
Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page 19 of 33 PageID #: 24




                                           Respectfully Submitted,


                                           James A. V^lla^bya, Esquire '
                                           WVI.D. N6^120
                                           Michael E.,Metro, Esquire
                                           WV. I.D. No.: 9590

                                           ViIIandva Law Offices, P.C.
                                           16 Chatham Square
                                           Piftsbur.gh, PA 15219
                                           (412) 471-1933;
                                           (412) 471-2733 (Fax)
                                           VlUanova.law.offices (Sgmail.com
3047370352
          Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page   20p.m.
                                                              01:38:12  of 3301-18-2022
                                                                               PageID #: 25                                               5/18




      COVERSHEET



                                    IN THE CIRCUIT COURT OF BROOKE COUNTY WEST VIRGINIA
                                      Richard D DUIinger v. Petroleum Fuel and Terminal Company

                                        QBusiness             @Individual                                            tusiness   Qlndividual
      First Plaintiff:                                                           First Defendant:
                                        QGovemment            QOther                                            QGovemment      DOther

      Judge:                            Ronald E. Wilson



      CaseType: Civil                                                            Conaplairit Type: Real Property


     Origin:                                @Initiat Filing      QAppeal from Municipal Court QAppeal from Magistrate Court


     Jury Triat Requested:                  @Yss ONo              Casc wil] be ready for trial by: 12/31/2022
     Medlatton Requested:                   DYes @No
     Substantial Hardship Requested; QYes @No


    [_] Do you or any ofyour clients or witnesses in this case require special accommodations due to a disability?
             [_] Wheelchair accessible hearing room and other facilities
             Q Jnterpreter or other auxiliary aid for the hearing impaired
             [_| Reader or other auxiliary aid for the visually impaired
             n Spokesperson or other auxiliary aid for the speech impaired

             D Other:

    [_j I am proceeding without an attomey
       I have an attomey; James Villanova, 16 Chatham Sq, Pittsburgh, PA 15219
         Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page
3047370352
                                                                   21p.m.
                                                             01:38:29 of 3301-18-2022
                                                                             PageID #: 26   6/18




     Name;           Petroleum Fuel and Terminal Company
     Address:        5098 Washington Street W STE. 407, Charieston WV 25313
     Days to Answer: 30                TypcofService: Plaintiff-SecretaryofState


     Name:          Apex Oit Company
     Address:        5098 Washington Street W Ste, 407, Charieston WV 25313
     Days to Answer: 30                Type of Service: Plaintiff- Secretary ofSfate

     Name:          Central Point Temiinal J&W, LLC
     Address:       5098 Washington Street W Ste. 407, Charleston WV 25313
    Days to Answer: 30                 Type of Servlce; Plaintiff- Secretary ofState


    Name:           Central Pomt Tenninal Company, LLC
    Address:        5098 Washington Street W Ste. 407, Charleston WV 25313
     Days to Answer; 30                TypeofService: Plaintiff-SecretaryofState


    Name:           John Doe(s)
    Address:
    DaystoAnswer: N/A                  TypeofServicc; NoService
3047370352Case      5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page  22 of 3301-18-2022
                                                                   Q1:38;4Qp.m.   PageID #: 27                                                     7/18



                                                                                                                                          ^
         SUMMONS


                                           IN THE CIRCUIT OF BROOKE WEST VIRGINIA
                                     Richard D Dillinger v. Petroleum Fuel and Terminal Company

    Service Type:     Plaintiff - Secretary of State

    NOTICE TO:       Petroleum Puel and Tenninal Company, 5098 Washington Street W, STE. 407, Charleston, WV 25313

    RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THB ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTINO OR
    DENYINO EACH ALLEOATION IN THE COMPLAINT WFTH THB CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR
    HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE OPPOSING PARTY'S ATTORNEY:
    James VilIanoYa, 16 Chatham Sq, Pittsburgh, PA 15219


    BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT.



    SERVICE;
     11/3/20213:29:31 PM                               /s/ Glenda Brooks
                     Date                                           Clerk


    RETURN ON SBRVICE:


     Q Return receipt ofcertified mail received in this office on

     Q I certily that I personally delivered a copy ofthe Sumnions and Complaint to



     D I certify that I personally delivered a copy ofthe Summons and Complaint to the mdividual's dwelling place or usual place ofabode to
                                                           , a member ofthe individual's family who is above the age ofsixteen (16) years and by
     advising such person ofthe purpose ofthe summons and complaint.

     QNot Found in Bailiwick



                    Date                                     Server's Signature
3047370352Case      5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page  23 of 3301-18-2022
                                                                   01:38:55p.m.   PageID #: 28                                                   8/18




         SUMMONS


                                           IN THE CIRCUIT OF BROOKE WEST VIRGINIA
                                     Richard D DiIIinger v. Petroleum Fuel and Terminal Company

    Service Type:     Plaintiff- Secretary ofState

    NOTICE TO:        Apex Oil Company, 5098 Washington Street W, Ste^407, Charleston, WV 25313

    RIGHTS. YOU OR YOUR ATTORNEY ARB RBQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR
    DBNYING EACH ALLBGATION IN THE COMPLAINT WITH THE CLERK OF THIS COURT, A COPY OF YOUR ANSWER MUST BE MAILED OR
    HAND DEUVERBD BY YOU OR YOUR ATTORNEY TO THE OPPOSING PARTY'S ATTORNEY:
    James Villanova^l6 Chatham Sq, Pittsburgh, PA 15219

    THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO YOU OR A JUDGMENT
    BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS DEMA.NDED IN THE COMPLAINT.



    SERVICE:
     11/3/20213:29:31PM                              /s/ Glenda Brooks
                     Date                                         Clerk


    RETURN ON SERVICE:


     [_] Retum receipt ofcertified mail received in this office on

     Q I certify that I personally delivered a copy of the Summons and Complaint to



     Q I certify that I personally delivered a copy ofthe Summons and Complaint to the individual's dwelling place or usual place ofabode to
                                                         , a member ofthe individual's family who is above the age ofsixteen (16) years and by

     advising such person ofthe purpose ofthe sununons and complaint.

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          Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page   24p.m.
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                                                                               PageID #: 29                                                        9/18




          SUMMONS


                                            IN THE CIRCUIT OF BROOKE WEST VIRGINIA
                                      Richard D Dillinger v. Petroleum Fuel and Terminal Company

     Service Type:    Plaintiff - Secretary of State

     NOTICE TO: Central Point Terminal J&W, LLC, 5098 Washington Street W, Ste. 407, Charleston, WV 25313
     THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONSIS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTIOM TO PROTECT YOUR
     RIOHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMirTING OR
     DENYING EACH ALLEGATION IN THE COMPLAINT WITH TKE CLERK OP TfflS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR
     HAND DELIVERED BY YOU OR YOUR ATTOR'NEY TO THE OPPOSmo PART/'S ATTORNBY:
     James Villanova, 16 Chatham Sq, Pittsburgh, PA15219


     BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT.



     SERVICE:
      11/3/20213:29:31PM                               /s/ Glenda Brooks
                     Date                                           Clerk


    RETURN ON SERVICE:


         Return receipt ofcertified mail received in this office on

      Q I certify that I personally delivered a copy ofthe Summons and Complaint to



      n I certify that I personally delivered a copy ofthe Summons and Complaint to the individual's dwelling place or usual place ofabode to
                                                           , a member ofthe individual's family who is above the age ofsixteen (16) years and by

      advising such person ofthe purpose ofthe sununons and complaint.

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                     Date                                     Server's Signature
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          Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page  25 of 3301-18-2022
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          SUMMONS


                                           IN THE CIRCUIT OF BROOKE WEST VIRGINIA
                                     Richard D Dillinger v. Petroleum Fuel and Terminal Company

     Service Type:    Plaintiff- Secretary ofState

     NOTICE TO;       Central Point Terminal Company, LLC, 5098 Washington Street W, Ste. 407, Charleston, WV 25313

     RIGHTS. YOU OR YOUR ATTORNBY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN ANSWER. EITHER ADMITTING OR
     DENYINO EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR
     HAND DELIVERBD BY YOU OR YOUR ATTORNEY TO THE OPPOSINO PARTY'S ATTORNBY:
     James Villanova, 16 Chatham Sq, Pittsburgh, PA 15219

     THE ANSWER MUST BE MAILED WITHIN 30 DAYS APTER THIS SUMMONS AND COMPLA1NT WERE DELIVBRED TO YOU OR A JUDGMENT
     BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS DEMANDED IN THB COMPLAINT.



     SERVICE:
      11/3/20213:29:31PM                             /s/ Glenda Brooks
                     Date                                         Clerk


     RETURN ON SERVICE:


         Retum receipt ofcertified mail received in this office on

      Q I certify that I personally delivered a copy ofthe Summons and Complaint to



      Q I certify that I personally delivered a copy ofthe Summons and Complaint to the individusl's dwelling place or usual place of abode to
                                                         , a member ofthe individual's family who is above the age ofsixteen (16) years and by

      advislng such person ofthe purpose ofthe suiiunons and complaint.

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                     Date                                  Ser/er's Signature
         Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page
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             Office ofthe Secretary of State
             Bullding 1 Suite 157-K
             1900KanawhaBlvdE.
             Charieston, WV 25305




                                                                                                                Mac Wamer
                                                                                                              SecretaryofState
                                                                                                             StsteofWestVirginJa
                                                                                                           Phone: 304-558-6000
                                                                                                                   886-767-8883
                                                                                                                 Viett u»onlfne:
                                                                                                                www.wvsos.com
             8ROOKE COUNTY COURT CLERK OF THE C1RCUIT
             COURT
             POBOX474
             Weltsburg, VW 26070-0474




                 Control Number: 285371                                                    Agont; C. T. Corporation System
                          Defendant: CENTER POINT TERMINAL J&W,                           County: Brooke
                                     LLC
                                     5098 WEST WASHINGTON STREET                     Clvll Actlon: 21-C-74
                                     SUITE 407                                 Certlfted Number: 9214890112S134100003378529
                                     CHARLESTON, WV 25313 US
                                                                                    Servlce Date: 12/22/2021

             < am enclosing:

                    1 summons and complalnt

             whlch was served on the Secretaty at the State Capitol as your statutory attomey-in-fact- According to (aw, t have accepted
             servlce of process in the name ond on behalfof your corporation.

             P/ease note that thls office has no connection whatsoever with the enclosed documents other than to accept service of
             process in fhe naine and on behalf ofyour corporatlon as yow attomay-in-faet. Please address any questions about thls
             document directly to <he court or ihe plalntiffs attorney, shown In the enctosQd paper. not to the Swretary of State's off/ce-




             Sincerely,

                                   'd^^yue^-
                               ^
             ^

             Mac Wamer
             Secretary of State
         Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page   27p.m.
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                                                                              PageID #: 32 12/18
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                 SUMMONS


                                                   IN THE CIRCUIT OP BROOKE WEST VIRGINIA
                                             Richard D Dillinger v. Petroleum Fuel and Terminal Company

             Scrvicc Type:    Plaintiff- Secretary of Statc

             NOTICE TO:       Central Poinl Terminal J&W.LLCtSOSig Washmgton Street W^Ste. 407, Charteston, WV 25313

             RIGHTS. YOU OR YOUR ArTORNEY ARE REQU1RED TO FILE THE ORIOINAL OF YOUR WRITTEN ANSWER, BITHER ADMIHING OR
             DENYINO EACH ALLEGATION IN THB COMPLAINT WITH TPIE CLERK OF TOIS COURT. A COPY OF YOUR ANSWER MUST BE MAFLED OR
             HAND DELIVERBD BY YOU OR YOUR ATTORNEY TO THE OPPOSING PARTVS ATTORNEY;
             James Yillanova, 16 Chatham Sq, PittsburRh, PA 15219


             BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER TlflNOS DEMAND^D IN THE COMPLAINT.



             SERVICE:                                                               ^'
              11/3/20213:29:31PM                              /s/GtcndaBrooks
                                                                                  .y ;/-
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                             Date                                         Clerk
                                                                                  ^^,
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             RETURNONSERVICE;


             Q Retum receipt ofccrtified nnail reccived in this ofFice on

             C3 I certify that I personslly delivered a copy ofthe Sumroons and Complaint to



             Q I certify that I personally delivered a copy ofthe Summons and Complaint to the individual's dwelling place or usual plaee ofabode to
                                                                , a member of the individual's fsmily who is above the age ofsixtcen (16) years and by

              advising such person of the puipose of the summons and complainl.

             DNot Found in Bailiwick



                             Date                                   Server's Signature
3047370352Case   5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page   28 of 33 01-18-2022
                                                                 01:40:06p.m.   PageID #: 33                                      13/18




          Office of the Secretary of State
          Bullding 1 Suite 157-K
          1900 Kanawha Blvd E.
          Charleston, WV 25305




                                                                                                            Mac Warner
                                                                                                         SecretaryofState
                                                                                                        StateofWestVirgima
                                                                                                      Phone: 304-558-6000
                                                                                                              886-767-8683
                                                                                                            Visi't us online:
         BROOKE COUNPi' COURT CLERK OF THE CIRCUIT
                                                                                                           www.wvsos.com
         COURT
         PO BOX 474
         Wellsburg, WV 26070-0474




             Control Number: 285372                                                    Agent: C. T. Corporation System
                      Defendant: CENTER POINT TERM1NAL                                County: Brooke
                                 COMPANY, LLC
                                 5098 WEST WASHINGTON STREET                     ClvllActIon: 21-C-74
                                 SUITE407                                  Certlfled Number: 92148901125134100003378536
                                 CHARLESTON, WV 25313 US
                                                                                ServiceDate: 12/22/2021


         I am enclosing;

                 1 summons and complalnt

         which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, 1 have accepted
         service of process in your name and on your behalf.

         Ptease note that thls offlw hes no connection whatsoever wlth the enclosed dowments otlier than to accepf service of
         process in your name and on your behatf as your attomey-in-faci. Ptease address any questions about thls document
         directly to the court or the plalntlffs attorney, shown In the enclosed paper, not to the Secretary ofState's offlce.




         Sincerely,


                 7e^       ^/a^yui^^

         Mac Warner
         Secretary of State
             Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page   29 of 3301-18-2022
                                                                 01:40:19p,m.     PageID #: 34 14/18
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                                                                ^•?'i,
                  SUMMONS


                                                    IN THE CIRCUIT OP BROOKE WEST VIRGINIA
                                              Rlchard D Dillingcr v. Petroleum Fuel and Terminal Company

             Ser/ice Type:     Plaintiff - Secretary of State

             NOTICE TO; Central Point Tenninal Company, LLC, 5098 WashingCon Street W, S(e. 407, Charleston, WV 25313
             THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDrATE ACTION^TO PROTECT YOUR
             RIGHTS. YOU QR YOUR ATTORNEY ARE REQU1RED TO FILB THE ORIOINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTtNCi OR
             DENYINO EACH ALLEOAT10N IN THE COMPLAINT WITH THE CLERK OF THIS COURT, A COPY OF YOUR ANSWER MUST BE MAILED OR
             HAND DEUVERED BY YOU OR YOUR ATTORNBY TO THE OPPOSING PARTf'S ATTORNEY:
             James Villanova, 16 Chatham Sq, Pittsburgh, PA 15219


             BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER TIIINGS DEMANDED )N TME COMPLAINT.
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             SERV1CE:
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             RETURN ON SERVICE;
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              D I certify that I personnlly delivered a copy ofthe Sunimons nnd Comploint lo



              Q I ccftify that I personally dclivered a copy ofthe Summons and Complaint to the individuol's dwelling placc or usual place ofabode to
                                                                 , a mcmber ofthe individual's faniily who is above the age ofsixtcen (16) years and by
              advisiiig such person ofthc purpose oftlie suinmons and coitiplaiiit.

              QNot Fouiid in Bailiwick



                             Date                                        Scrvcr's Signature
         Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page
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                                                                  30 of 3301-18-2022
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             Office of (he Secretary of State
             Building 1 Suite 157-K
             1900KanawhaBlvdE.
             Charteston.WV 25305




                                                                                                               Mac Wamer
                                                                                                            Secrelary of8tate
                                                                                                           StateofWestVirginia
                                                                                                         Phone: 304-558-6000
                                                                                                                 886.767-8883
                                                                                                               Visit us onllne:
             BROOKE COUNT*' COURT CLERK OF THE CIRCUIT                                                        www.wvsos.com
             COURT
             PO BOX 474
             Wellsburg, WV 26070-0474




                 Control Number: 285373                                                    Agent: C. T. Corporation System
                          Defendant; APEX OIL COMPANY, INC.                              County: Brooke
                                     5098 WEST WASHINGTON STREET
                                     SUITE 407                                       C(vllActlon:21-C-74
                                     CHARLESTON, VW 25313 US                   Certifled Numbsr: 92148901125134100003378543
                                                                                   Servlce Date: 12/22/2021

             f am enclosing:

                    1 suminons and complalnt

             whlch was served on the Secretary at the State Capitol as your statutory attomey-ln-fact. According to law, 1 hav^ accepted
             service of process in the name and on behalf of your corporation.

             Please not9 that this offlce has no connection whatsoever with thQ enclosed documents other than to accept servlce of
             pmwss In the name and on behalf ofyour corporatlon as your attamey-in-fact. Plaase address any questions about's fhis
             dowment dlrectly to the court or th9 plaintiff's attorney, shown In the enclosed paper. not (o the Secretary of State office.




             Sincerely,



             T^                ^
                                   'a^yije^-


             Mac Warner
             SecretaryofState
         Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page
3047370352
                                                                  31 of 3301-18-2022
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                  SUMMONS                                         ^.J . -

                                                    IN THE CIRCUIT OF BROOKE WEST VIRGINIA
                                              Richard D Dillinger v. Petroleum Fuel and Terrainal Company

             Service Type:     Plaintiff- Secretary ofState

             NOTICE TO:       Apex Oil Company, 5098 WashmKton Street W, Ste, 407, Charleston, WV 25313
             THE COMPLAINT WHICH IS ATTACHED TO TWS SUMMONS IS 1MPORTANT AND YOU MUSTTAKE IMMEDIATE ACTIONTbPROTECTYOUR
             RIGHTS. YOU OR YOUR ATTORNBY ARE REQUnUiD TO PiLE THE OIUGINAL OF YOW. WRITTEN ANSWER, ErTHER ADMITTING OR
             DENYING EACH ALLEGATION IN THB COMPLAINT WITH THE CLBRK OF TOIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR
             HAND DELFVERED BY YOU OR YOUR ATTORNEY TO THB OPPOSINO PART^'S ATTORNEY:
             James Villanova, 16 Chatham Sq> Pittsburgh, PA 15219



             BY DEFAULT MAY BE ENTERED AOAINST YOU FORTHE MONE1(.0&OTOE?.TH[NGS DEMANDED IN THE COMPLAINT.
                                                                                      ..''•••: .- •     .


             SERVICE:
               11/3/20213:29:31PM                             /s/ Glenda B(S<?ks
                             Date                                              ;lcric.

             RETURNONSERVICE:
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                                                                                  '^s^
                                                                              '.•';

                                                                                         "^•;./- ••'•.•''

              Q Retum receipt ofcertified roail received in this ofiice on

              D I certify that I personally delivercd a copy ofthe Summons and Complaint to



              Q I certify that I personalty dellvered a copy ofthe Sununans and Complaint to the individual's dwelling place or usual place ofabode to
                                                                 , a member of the individual's family who is above the age of sbtteqn ( 16) ycars and by
              advising such person oftbe purpose of thc summons and complaint.                                             ^
                                                                                                                               '     '.;
              C]NotFoundinBailiwick                                                                                       ,'

                                                                                                                                     •<.•
                             Date                                    Servei's Signature                                             ••,'
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             Office ofthe Secretary of State
             Bullding 1 Suite 157-K
             1900KanawhaBlvdE.
             Charteston, WV 25305




                                                                                                                 Mac Warner
                                                                                                              SecretaryofState
                                                                                                             StateofWestVirginia
                                                                                                           Phone: 304-558-6000
                                                                                                                  886-767.8683
                                                                                                                 Wsit y onlirw:
                                                                                                                www.wvsos.com
             BROOKE COUNFr COURT CLERK OF THE CIRCUIT
             COURT
             POBOX474
             Wellsburg. VW 26070-0474




                 Control Number: 285374                                                     Agent: C. T. Corporation System
                          Defendant: PETROLEUM FUEL & TERMINAL                             County: Brooke
                                     COMPANY
                                     5098 WEST WASHINGTON STR6ET                      ClvHActlon: 21-C-74
                                     SUITE 407                                  Certlfled Number: 92148901125134100003378550
                                     CHARLESTON, WV 25313 US
                                                                                     Servlce Date: 12/22/2021

             I am enclosing:

                    1 summons and complafnt

             which was served on the Secretary at the State Capitol as your statutory attomey-ln-fact. According to law, t have accepted
             service ofprocess in the name and on behalfofyourcorporation.

             P/ease note that this offlce has no connection whatsoever with the enclosed dowments other than to accept service of
             process In the name and on behatfof your corporation as your attomay-ln-fact PIQQSQ address any quesfens about this
             dowment directly to the court or the plainliff's attorneiy. shown in the enclosed pap6r, not to the Swretary of StatQ's offlce.




             Sincerely,


                                   tZ^^LA^.
                               ^
             ^

             Mac Warner
             Secretary of State
             Case 5:22-cv-00011-JPB Document 1-1 Filed 01/19/22 Page   33 of 3301-18-2022
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                  SUMMONS                                       \^»"i^...::


                                                   IN THB CIRCUIT OF BROOKE WEST VIRGINIA
                                             RIchard D DUItnger v. Petroleum Fuel and.TerminaI Company

             Service Type:    Plaintiff - Secretary of State

             NOTICE TO:       Petroleum Fuel and Tenninat Company, 5098 Washington Street W, STE. 407, Charlcston. WV 25313

             RIOHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIOINAL OF YOUR WRTTTEN ANSWER, EITHER ADMITTINO OR
             DENYING BACH ALLEOATION IN THE COMPLAINT WTTH THE CLERK OF THIS COURT. A COPY OP YOUR ANSWER MUST BB MAILBD OR
             HAND OELWERED BY YOU OR YOUR ATTORNEY TO THE OPPOSINO PARWS ATTORNEY:
             James Villanova, 16 Chatham Sq, Pittsburgh. PA 15219


             BY DEFAULT MAY BE ENTERED AOAINST YOU FOR THB MONEY OR OTHER THtNOS DEMANDED IN THE COMPLAENT.

                                                                                   .^f^^t   'M
                                                                                   ^•^'^•^^'i'e^.
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             SERVICE;
              11/3/20213:29:31PM                               /s/OIenda Brooks .y^? ....^.  ,.^^'
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                                                                                                                '/.t"
                                                                                                                      -;•
                             Date                                               Gler^      ,,:^->T:'
                                                                                  -\""^^:y-?' A^
             RETURNONSERVICE;
                                                                                   '^^

              D Return receipt ofcertified mail received in this office on

             Q I certify that i personally delivered a copy ofthe Summons and Complaint to



             Q I certify that I personally delivered a copy of the Summons and Complaint to the individual's dwelling place or usual placc of abode to
                                                                 , a member ofthe individuaJ's family who is above the age ofsixteen (16) years and by
              advising such person ofthe purpose ofthe summons and complaint.

             QNot Fouud ia Bailiwick



                             Date                                      Server's Signature
